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                   EXHIBIT I

     REDACTED
    VERSION OF
    DOCUMENT
  PROPOSED TO BE
 FILED UNDER SEAL
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 1                      DECLARATION OF
 2
 3    I,                              , declare as follows:
 4
 5    1.    This declaration is based on my personal knowledge. If called to testify in this
 6 case, I would testify competently about these facts.
 7 2.       I was born in            on                       . I came to the United States
 8 approximately                      .
 9 3.       I arrived at the border station         . I came alone. There was a border official
10 who was very rude to me and would laugh at me.
11 4.       At first, I was sent to a place in El Paso and then San Antonio, and now I’m here at
12 Nexus in Houston. El Paso was a border facility. It was called an hielera.
13 5.       I liked the place in San Antonio. I didn’t like El Paso much, but it was better than
14 here. In San Antonio, I really liked it because they let us go outside and there were a lot
15 of activities. I was there for about two months.
16 6.       I have now been at Nexus for about seven months. I woke up on a Saturday and
17 they told me I was leaving the shelter in San Antonio that day. It was a surprise. They
18 sent me here because of the weight problem I have and because of my knees and
19 diabetes.
20 7.       I am doing better now. But no one has talked to me about how much longer I need
21 to stay here.
22 8.       I liked the hielera better than here because of how they treat people here. It’s not
23 well. They don’t treat people well. They try to be rude to me, but I don’t let them get
24 away with it. They are not nice to the other kids.
25 9.       At first they told me that I had to reach a weight level to leave. But then I reached
26 that goal and they told me they did not have a place for me to go.
27 10.      I spend eight hours a day in my room. I leave for therapy or to go outside or the
28 activities room. Being in my room is better than what else is going on in the hospital.


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 1   11.   I have school once a week on Wednesdays. A teacher comes in for an hour and a
 2   half and we go over math, English, and language arts. I do my homework on Tuesdays
 3   and it takes me most of the day.
 4   12.   I was told about long term foster care and that is where I would like to go. I don't
 5   feel good here.
 6   13.   I would like to be a gynecologist someday. I like kids and would love to help
 7   bring kids into the world.
 8
 9   I declare under penalty of perjury that the foregoing is true and correct. Executed on this
10   13 th day of November, 2020 at Houston, Texas.
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 1                              CERTIFICATE OF TRANSLATION
 2
 3          I, Soraya Morales Nuñez, hereby certify that I am proficient in both Spanish and
 4    English, and that I accurately translated the foregoing statement and read it back to
 5                            , in its entirety in Spanish on November 13, 2020.
 6
 7                                           ______________________________________
 8                                                  Soraya Morales Nuñez
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